 JS 44 (Rev. 04/21)                                                        CIVIL COVER SHEET
 The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
 provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
 purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
 I. (a) PLAINTIFFS                                                                                             DEFENDANTS
              Nadia Roberts, an individual
                                                                                                                      CT, LLC, a limited liability company
    (b) County of Residence of First Listed Plaintiff                                                           County of Residence of First Listed Defendant
                                 (EXCEPT IN U.S. PLAINTIFF CASES)                                                                      (IN U.S. PLAINTIFF CASES ONL }'.,)
                                                                                                               NOTE:       IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                           THE TRACT OF LAND INVOLVED.

    (C) Attorneys (Firm Name, Address, and Telephone Number)                                                    Attorneys (If Known)


Jessica Molligan, PO Box 16893, Portland, OR 97292; (971) 350-7347

 II. BASIS OF JURISDICTION (P/acean "X"inOneBoxOnly)                                            III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Box for Plaintiff
                                                                                                           (For Diversity Cases Only)                                      and One Box for Defendant)
D I U.S. Government                    [iJ 3 Federal Question                                                                       PTF          DEF                                         PTF      DEF
          Plaintiff                             (U.S. Government Not a Party)                        Citizen of This State            ID        D I       Incorporated or Principal Place         D
                                                                                                                                                                                                  4     4   D
                                                                                                                                                            of Business In This State

D 2 U.S. Government                   D 4 Diversity                                                  Citizen of Another State          02       □ 2 Incorporated and Principal Place              □ 5       Os
           Defendant                            (Indicate Citizenship ofParties in Item III)                                                                 of Business In Another State

                                                                                                     Citizen or Subject of a           03       □ 3 Foreign Nation                                □ 6       06
                                                                                                       Foreign Country
 IV. NATURE OF SUIT (Place an "X" in One Box Only)                                                                                         Click here for: Nature of Suit Code Descri tions.
           CONTRACT                                             TORTS                                   FORFEITURE/PENALTY


~
    110 Insurance                        PERSONAL INJURY                 PERSONAL INJURY                 625 Drug Related Seizure              422 Appeal 28 USC 158                   375 False Claims Act
    120 Marine                           3 IO Airplane              D 365 Personal Injury -                  of Property 21 USC 88 I           423 Withdrawal                          376 Qui Tam (31 USC
    130MillerAct                         315 Airplane Product             Product Liability              690 Other                                 28 USC 157                              3729(a))
    140 Negotiable Instrument                  Liability            O 367 Health Care/                                                      INTELLECTUAL                               400 State Reapportionment
D   150 Recovery of Overpayment          320 Assault, Libel &              Pharmaceutical                                           l:=:--P_R_O_P_E_R_T_Y_RI_G_H_T_S_➔-l 410 Antitrust


a        & Enforcement of Judgment
    151 Medicare Act
    152 Recovery of Defaulted
          Student Loans
                                               Slander
                                         330 Federal Employers'
                                               Liability
                                         340 Marine
                                                                    D
                                                                           Personal Injury
                                                                           Product Liability
                                                                       368 Asbestos Personal
                                                                           Injury Product
                                                                                                                                         820 Copyrights
                                                                                                                                         830 Patent
                                                                                                                                         83 5 Patent - Abbreviated
                                                                                                                                                 New Drug Application
                                                                                                                                                                                       430 Banks and Banking
                                                                                                                                                                                       450 Commerce
                                                                                                                                                                                       460 Deportation
                                                                                                                                                                                       470 Racketeer Influenced and
         (Excludes Veterans)             345 Marine Product                Liability

                                                                    a
                                                                                                                                         840 Trademark                                     Corrupt Organizations
D   153 Recovery of Overpayment                Liability                                                           7 R'--:"----:----tLJ 880 Defend Trade Secrets
                                                                      PERSONAL PROPERTY i--.-=-:-::-::--:--:L=A:"B=O                                                                   480 Consumer Credit
         of Veteran's Benefits           350 Motor Vehicle             370 Other Fraud        710 Fair Labor Standards                          Act of2016                                 (15 USC 1681 or 1692)
D
D
    160 Stockholders' Suits              355 Motor Vehicle
                                                                    D
                                                                       371 Truth in Lending           Act
                                                                                                                                                                                        ~:i~::::
                                                                                                                                                                                       485

a   190 Other Contract                        Product Liability        380 Other Personal     720 Labor/Management                  1--s'""o....c""IAL---.....,..SE
                                                                                                                                                                 ...C=URI=TY--------t~                ~::sumer
    195 Contract Product Liability       360 Other Personal               Property Damage           Relations                       861 HIA (1395ft)                              490 Cable/Sat TV
    I 96 Franchise                            Injury                D 385 Property Damage      740 Railway Labor Act                862 Black Lung (923)                          850 Securities/Commodities/
                                         362 Personal Injury -      Product Liability          751 Family and Medical               863 DIWC/DIWW (405(g))                            Exchange
                                              Medical Malpractice                                   Leave Act                       864 SSID Title XVI                            890 Other Statutory Actions
-~-RE_AL_P_R_O_PE_R_TY     _ _ _ _ _C_IVIL
                                       __   RI_G_H_T_S_ _-+-_P_RI_S_O_NE_R_P_E_T_I_T_IO_N_S_=: 790 Other Labor Litigation           865 RSI (405(g))                              891 Agricultural Acts
    210 Land Condemnation          440 Other Civil Rights      Habeas Corpus:                  791 Employee Retirement                                                            893 Environmental Matters
D   220 Foreclosure                441 Voting                  463 Alien Detainee                  Income Security Act        t--FE=D=E=RAL-:--:---:T::-AX:--:-:--::-:,==---t""'1 895 Freedom of Information

§   230 Rent Lease & Ejectrnent
    240 Torts to Land
    245 Tort Product Liability
                                   442 Employment
                                   443 Housing/
                                       Accommodations
                                                               510 Motions to Vacate
                                                                    Sentence
                                                               530 General
                                                                                                                                    870 Taxes (U.S. Plaintiff
                                                                                                                                         or Defendant)
                                                                                                                                    871 IRS-Third Party
                                                                                                                                                                                      Act
                                                                                                                                                                                  896 Arbitration
                                                                                                                                                                                  899 Administrative Procedure
D   290 All Other Real Property    445 Amer. w/Disabilities -  535 Death Penalty                   IMMIGRATION                           26 USC 7609                                  Act/Review or Appeal of
                                       Employment              Other:                          462 Naturalization Application                                                         Agency Decision
                                   446 Amer. w/Disabilities -  540 Mandamus & Other            465 Other Immigration                                                              950 Constitutionality of
                                       Other                   550 Civil Rights                    Actions                                                                            State Statutes
                                   448 Education               555 Prison Condition
                                                               560 Civil Detainee -
                                                                    Conditions of
                                                                    Confinement
 V. ORIGIN (Placean "X"inOneBoxOnly)
[2g I Original  D 2 Removed from                          □ 3       Remanded from              D 4 Reinstated or D 5 Transferred from D 6 Multidistrict                                  D 8 Multidistrict
        Proceeding               State Court                        Appellate Court                  Reopened                   Another District                 Litigation -                   Litigation -
                                                                                                                                (specify)                        Transfer                       Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                                                                                                                                                   Americans with Disabilities Act, 42


                                                                           Violations of ADA
 VII. REQUESTED IN    0 CHECK IF THIS IS A CLASS ACTION                                                  DEMAND$                                      CHECK YES only if demanded in complaint:
      COMPLAINT:         UNDER RULE 23, F.R.Cv.P.                                                                                                     JURY DEMAND:                   □ Yes        0No

 VIII. RELATED CASE(S)
                       (See instructions):
       IF ANY                              JUDGE
                                                                                    - - - - - - - - - - - - - - - - - DOCKET NUMBER -------------
 DATE                                                                   SIONATURE OF ATTP.RNJ;Y OF nc~D
         October 9, 2023                                                                       ,JeJJrC(( /flO((ij((lt
 FOR OFFICE USE ONLY

    RECEIPT#                      AMOUNT                                    APPLYING IFP                                       JUDGE                              MAG. JUDGE
JS 44 Reverse (Rev. 04/21)


                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county ofresidence of the "defendant" is the location of the tract ofland involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney ofrecord. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation -Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation - Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE TBAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statute.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
